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                                                                                    6
                                                                                      Attorneys for Defendant
                                                                                    7 Synchrony Bank

                                                                                    8                           UNITED STATES DISTRICT COURT
                                                                                    9                          CENTRAL DISTRICT OF CALIFORNIA
                                                                                   10                                    WESTERN DIVISION
                 A limited liability partnership formed in the State of Delaware




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                                                                                        JEFFREY ADAIR,                                 Case No.:
                                                                                   12
                                                                                                            Plaintiff,                 [Removal from the Superior Court of
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                                                                                   13                                                  the State of California for the County
                                                                                              vs.                                      of Los Angeles, Docket No.
                                                                                   14                                                  16K04058]
                                                                                        SYNCHRONY BANK,
                                                                                   15                                                  NOTICE OF REMOVAL
                                                                                                            Defendant.
                                                                                   16

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                                                                                   18         Defendant Synchrony Bank (“Synchrony”), by counsel, pursuant to 28 U.S.C.
                                                                                   19
                                                                                        §§ 1331, 1441 and 1446, hereby notices removal of the state court civil action known
                                                                                   20
                                                                                        as Jeffrey Adair v. Synchrony Bank, No. 16K04058, from the Superior Court of the
                                                                                   21

                                                                                   22 State of California for the County of Los Angeles, to the United States District Court

                                                                                   23
                                                                                        for the Central District of California, Western Division, and in support thereof states
                                                                                   24
                                                                                        as follows.
                                                                                   25

                                                                                   26         1.      On or about April 1, 2016, Plaintiff Jeffrey Adair (“Plaintiff”) filed a
                                                                                   27
                                                                                        Complaint against Synchrony (the “Complaint”) in the Superior Court of the State of
                                                                                   28

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                                                                                    1 California for the County of Los Angeles (the “State Court”). In compliance with 28

                                                                                    2
                                                                                        U.S.C. § 1446(a), a true and correct copy of all process, pleadings, and orders served
                                                                                    3

                                                                                    4 upon Synchrony is attached hereto as Exhibit 1.

                                                                                    5         2.     On April 13, 2016, Synchrony was served by a process server through its
                                                                                    6
                                                                                        registered agent, CT Corporation.
                                                                                    7

                                                                                    8         3.     Except for the notice filed with respect to this Notice of Removal, as of

                                                                                    9 the date of this filing, no pleadings, motions, or papers other than the Complaint, have

                                                                                   10
                                                                                        been filed with the State Court in this action.
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                                                                                   12         4.     As set forth more fully below, this case is properly removed to this Court
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                                                                                   13 pursuant to 28 U.S.C. § 1441 because Synchrony has satisfied the procedural

                                                                                   14
                                                                                        requirements for removal, and this Court has subject matter jurisdiction over this
                                                                                   15

                                                                                   16 action pursuant to 28 U.S.C. § 1331.

                                                                                   17                               GROUNDS FOR REMOVAL
                                                                                   18
                                                                                        I.    Synchrony Has Satisfied The Procedural Requirements For Removal.
                                                                                   19

                                                                                   20         5.     Synchrony’s registered agent received the Complaint by process server
                                                                                   21 on April 13, 2016. Therefore, this Notice of Removal is timely filed under 28 U.S.C.

                                                                                   22
                                                                                        § 1446(b) because Synchrony is filing its Notice of Removal within 30 days of its
                                                                                   23

                                                                                   24 receipt of the initial pleading setting forth the claim for relief upon which such action

                                                                                   25 is based.

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                                                                                    1         6.     This Court is the proper division because it embraces the Superior Court
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                                                                                        of the State of California for the County of Los Angeles, where Plaintiff’s action is
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                                                                                    4 pending. See 28 U.S.C. §§ 1441 and 1446(a).

                                                                                    5         7.     No previous request has been made for the relief requested herein.
                                                                                    6
                                                                                              8.     Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is
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                                                                                    8 being served on Plaintiff, and a copy is being filed with the State Court Clerk.

                                                                                    9 II.     Removal Is Proper Because This Court Has Subject Matter Jurisdiction.
                                                                                   10
                                                                                              9.     Under 28 U.S.C. § 1331, United States District Courts are vested with
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                                                                                   12 jurisdiction to consider cases or controversies “arising under” the laws of the United
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                                                                                   13 States of America. See 28 U.S.C. § 1331.

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                                                                                              10.    Removal of such cases is governed by 28 U.S.C. § 1441(b). Section
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                                                                                   16 1441(b) makes clear that a case brought in state court, raising a federal question,

                                                                                   17 “shall be removable” to the United States District Courts “without regard to the

                                                                                   18
                                                                                        citizenship or residence of the parties.” See 28 U.S.C. § 1441(b) (emphasis added).
                                                                                   19

                                                                                   20         11.    Here, Plaintiff’s Complaint purports to assert a claim against Synchrony
                                                                                   21 for alleged violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq. (the

                                                                                   22
                                                                                        “FCRA”). See Complaint, at 1.
                                                                                   23

                                                                                   24         12.    Plaintiff’s Complaint alleges violations of a federal statute, the FCRA,
                                                                                   25 and consequently “arises under” the laws of the United States. See 28 U.S.C. § 1331.

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                                                                                        Therefore, this Court may properly exercise jurisdiction over this claim.
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                                                                                    1         13.   To the extent that any other claims in this action may arise under state
                                                                                    2
                                                                                        law, supplemental jurisdiction over such claims exists pursuant to 28 U.S.C. § 1367.
                                                                                    3

                                                                                    4         14.   Given that the requirements for federal question jurisdiction are satisfied,

                                                                                    5 this case is properly removed.

                                                                                    6
                                                                                              WHEREFORE, Defendant Synchrony Bank, by counsel, respectfully requests
                                                                                    7

                                                                                    8 that the above-referenced action, originally filed in the Superior Court of the State of

                                                                                    9 California for the County of Los Angeles, be removed to this Court pursuant to 28

                                                                                   10
                                                                                        U.S.C. §§ 1441 and 1446.
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                                                                                   12         DATED: May 11, 2016             REED SMITH LLP
REED SMITH LLP




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                                                                                   14                                         /s/ Raffi L. Kassabian_________________
                                                                                                                              Attorney for Defendant
                                                                                   15                                         Synchrony Bank
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                                                                                    1                              CERTIFICATE OF SERVICE
                                                                                    2         I hereby certify that on this 11th day of May, 2016, a true and correct copy of
                                                                                    3
                                                                                        the foregoing was served via first-class U.S. Mail, postage prepaid, upon the
                                                                                    4

                                                                                    5 following:

                                                                                    6

                                                                                    7                            Todd M. Friedman
                                                                                                                 Law Offices of Todd M. Friedman, P.C.
                                                                                    8                            324 S. Beverly Dr., #725
                                                                                    9                            Beverly Hills, CA 90212
                                                                                                                 Attorney for Plaintiff Jeffrey Adair
                                                                                   10
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                                                                                   12                                         By: /s/ Raffi L. Kassabian
REED SMITH LLP




                                                                                   13                                             Attorney for Defendant
                                                                                                                                  Synchrony Bank
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                                                                                                                          NOTICE OF REMOVAL
